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EXHIBIT
D-1
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SUBSCRIPTION AGREEMENT

Mos 97 , 2006

Corporate Eagle Jet, LLC
6320 Highland Road
Waterford, Michigan 48327

Ladies and Gentlemen:

The undersigned (the “Subscriber”) hereby enters into this Subscription Agreement (this
“A reement”) and irrevocably subscribes for membership interests (the “Unit” or “Units”) in
Corporate Eagle Jet, LLC, a Michigan limited liability company (the “LLC”), in the aggregate
amount indicated on the signature page hereof. Except as provided by law, this subscription,
when and if accepted by the LLC, will constitute the binding and irrevocable obligation of the
Subscriber and its successors and assigns to perform this Agreement and to contribute to the
capital of the LLC in accordance with the Operating Agreement (the “Operating Agreement”) of
the LLC, substantially in the form of Exhibit A, attached hereto and made a part hereof.

The Subscriber acknowledges and understands that the maximum aggregate number of
Units the LLC is offering or considering subscriptions is ten (10) Units ($500,000.00 per Unit).
The offering will commence on the date hereof (the “Offering Date”) and terminate on or before
the [ninetieth] day after the Offering Date, (the “Offering Period”) unless extended at the
election of Tradewinds Aviation, Inc., a Michigan corporation, manager of the LLC or any
successor manager(s) (the “Manager”) (the “Extended Offering Period”).

The Subscriber further acknowledges and understands that this subscription is not
binding on the LLC unless accepted in writing by the LLC in its sole discretion, The LLC may
accept, in its sole discretion, all or any portion of the commitment amount set forth on the
signature page hereto. Upon acceptance, the LLC may provide the Subscriber at any time with a
written notice that all or part of the Subscriber’s subscription payment is due. Upon receipt of
such notice, the Subscriber must submit a check or other form of payment payable to “Corporate
Eagle Jet, LLC” in the amount of ($500,000.00) per Unit, for the purchase of the number of
Units provided for in such notice, but not to exceed the amount indicated by the Subscriber in
this Agreement within five (5) business days of such notice. Accepted finds will be held in a
separate account for the LLC (the “Subscription Account”). Subscription funds received from
Subscriber whose subscriptions are not accepted shall be returned without interest.

At any time before the end of the Offering Period or the Extended Offering Period, upon
a whole or partial acceptance of any or all subscriptions for Units, the Manager may withdraw
funds from the Subscription Account for use as determined by the Manager to further the

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purposes of the LLC, as set forth in Section 1.2 of the Operating Agreement (“Business
Purpose”).

The Subscriber understands and agrees that (i) execution of this Agreement by the
Subscriber and delivery of the executed Agreement to the LLC shall constitute an offer to enter
into this Agreement on the terms and conditions set forth herein, which offer shall be irrevocable
by the Subscriber during the Offering Period and Extended Offering Period and (ii) in
consideration of and in reliance on the foregoing, the LLC will continue to expend funds and
actively pursue the Business Purpose.

1. Representations, Warranties, and Agreements by the Subscriber. The Subscriber hereby
represents, warrants, and agrees with respect to this initial subscription and with respect to all
subsequent purchases of Units by the Subscriber, as follows:

(a) The Unit(s) is/are being purchased by the Subscriber and not by any other person
or entity, with the finds of the Subscriber and not with the funds of any other person or entity,
and for the account of the Subscriber, not as a nominee or agent and not for the account of any
other person or entity. Upon acceptance of this Agreement by the LLC, no other person or entity
will have any interest, beneficial or otherwise, in the Unit(s). The Subscriber is not obligated to
transfer the Unit(s) to any other person or entity, nor does the Subscriber have any intention,
agreement or understanding to do so. The Subscriber is purchasing the Unit(s) for investment for
an indefinite period and not with a view to the sale or distribution of any part or all thereof by
public or private sale or other disposition. The Subscriber has no intention of selling, granting
any participation in, or otherwise distributing or disposing of any Unit(s). The Subscriber does
not intend to subdivide the purchase of Unit(s) by the Subscriber with any person or entity.

(b) The Subscriber has been advised that the Units have not been registered under the
Securities Act of 1933, as amended (the “Act”), or registered or qualified under any state
securities law (the “Law”), on the ground that exemptions from or preemption of such
registration and qualification requirements are available. The Subscriber understands that the
LLC is relying in part on the representations of the Subscriber as set forth herein for purposes of
claiming such exemptions or preemption and that the basis for such exemptions or preemption
may not be present if, notwithstanding the representations of the Subscriber, the Subscriber
intends to acquire a Unit or Units for resale on the occurrence or nonoccurrence of some
predetermined event. The Subscriber understands that the accuracy or adequacy of the
disclosures made to the Subscriber have not been passed upon by any state or federal securities
administrator and that no prospectus has been filed with the Securities and Exchange
Commission because of the limited nature of the offering and the qualifications of the
Subscriber. The Subscriber understands that the LLC will not be registered as an investment
company under the Investment Company Act of 1940, as amended (the “Investment Company
Act”), and that the Manager will not be registered as an investment advisor under the Investment

Advisor’s Act of 1940, as amended.

(c) The Subscriber has read the definition of “Accredited Investor”, as used in
Regulation D (Section 230.501-230.508) under the Securities Act of 1993, substantially in the

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same form of Exhibit B, attached hereto and made a part hereof. The Subscriber covenants that
Subscriber comes within the definition of an Accredited Investor for purposes of this Agreement.

(d) The Subscriber acknowledges receipt of financial and other information
concerning the LLC and the business of the LLC, as the Subscriber considers necessary to
entering into this Agreement. The Subscriber has carefully reviewed such information, including
the risk factors described on Exhibit C, attached hereto and made a part hereof, and the
Operating Agreement and has discussed with the LLC or a person or persons acting on the
LLC’s behalf any questions the Subscriber may have had with respect thereto, including but not
limited to, the LLC’s operating history. The Subscriber understands:

(Gi) the risks involved in this offering, including the speculative nature of the
investment;

(ii) the financial risks involved in this offering, including the risk of losing the
entire investment made by the Subscriber;

(iii) the lack of liquidity and restrictions on transfers of the Units;
(iv) _ the lack of a market for the resale of Units; and
(v) the tax consequences of this investment.

The Subscriber has consulted or had to opportunity to consult with legal, accounting, tax,
investment, and other advisors to the Subscriber with respect to the tax treatment of an
investment by the Subscriber in the Units and the merits and risks of an investment in the Units
to the extent that such advice is deemed appropriate by the Subscriber.

The Subscriber acknowledges that all documents, records, and books pertaining to an
investment in the Units have been made available for inspection by the Subscriber and the
Subscriber’s attorney, accountant, and Purchaser Representative (as defined in Rule 501 of
Regulation D promulgated under the Act), if any, and that the books and records of the LLC and
any documentary information referred to within such information requested by the Subscriber
have been made available for inspection. The Subscriber and the Subscriber’s advisor(s) have
had a reasonable opportunity to ask questions of and receive answers from the LLC, or a person
or persons acting on its behalf concerning the offering, and all such questions have been
answered to the full satisfaction of the Subscriber. No oral representations have been made or
oral information furnished to the Subscriber or his or her advisor(s) in connection with the
offering that are in any way inconsistent with the statements made herein.

(e) The Subscriber or any person holding an equity interest in the Subscriber if the
Subscriber is not a natural person (i) is an “accredited investor” as defined in Regulation D under
the Act; (ii) has adequate means of providing for the current needs and possible contingencies of
the Subscriber, apart from any income that the Subscriber might eam from an investment in the
LLC; (iii) has no need for liquidity of the investments made by the Subscriber in the LLC; and

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(iv) can bear the economic risk of losing the entire investment of the Subscriber therein. The
Subscriber, together with the Subscriber’s Purchaser Representative (if any), has such knowledge
and experience in financial, tax and business matters to enable the Subscriber to utilize the
information made available in connection with the offering of the Units, to evaluate the merits
and risks of the prospective investment, and to make an informed decision with respect thereto.

(f) If a natural person, the Subscriber is 21 years of age or over; if a corporation,
limited liability company, partnership, trust or other entity, the Subscriber is authorized,
empowered and qualified to execute this Agreement and to make an investment in the LLC as
herein contemplated. Each of this Agreement and the Operating Agreement is valid, binding, and
enforceable against the Subscriber in accordance with its terms.

(g) The execution and delivery of this Agreement, the consummation of the
transactions contemplated hereby, and the performance of the Subscriber’s obligations hereunder
and under the Operating Agreement will not conflict with, or result in any violation of or default
under, any provision of any governing instrument applicable to the Subscriber, or any agreement
or other instrument to which the Subscriber is a party or by which the Subscriber or any of
Subscriber’s properties are bound, or any foreign or domestic permit, franchise, judgment,
decree, statute, rule or regulation applicable to the Subscriber or the Subscriber’s business or

properties.

(h) If Subscriber is a partnership, a limited liability company treated as a partnership
for federal income tax purposes, a grantor trust (within the meaning of Sections 671 through 679
of the Internal Revenue Code of 1986 (the “Code”)) or an S corporation (within the meaning of
Section 1361 of the Code) (each a “Flow-through Entity”), the Subscriber represents and
warrants either that (i) no person will own, directly or indirectly through one or more Flow-
through Entities, an interest in the undersigned where more than seventy percent of the value of
the person’s interest in the Subscriber is attributable to the Subscriber’s investment in the LLC;
or (ii) if one or more persons will own, directly or indirectly through one or mote Flow-through
Entities, an interest in the Subscriber where more than seventy percent of the value of the
person’s interest in the Subscriber is attributable to the Subscriber’s investment in the LLC,
neither the Subscriber nor any such person has or had any intent or purpose to cause such person
or persons to invest in the LLC indirectly through the Subscriber in order to enable the LLC to
qualify for the 100-partner safe harbor under Treas. Reg. Section 1.7704-1(h).

(i) The Subscriber understands and agrees that the rights and duties of the Subscriber
under this Agreement survive the purchase, sale or transfer of the Unit(s) and that this
Agreement shall be binding upon the successors, assigns and legal representatives of the

Subscriber.

(j) The Subscriber has full power and authority to execute and deliver this
Agreement and to consummate the transactions contemplated herein. If the Subscriber is not a
natural person, the execution, delivery and performance of this Agreement by the Subscriber has
been duly authorized and approved by all necessary company or other action. When executed
and delivered, this Agreement shall be legally binding on and enforceable against the Subscriber
in accordance with its terms.

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(k) The Subscriber understands and agrees that there can be no assurance that the
Internal Revenue Code or the regulations thereunder will not be amended in a manner as to
deprive the LLC and its members of some or all of the tax benefits they might now receive, nor
that some deductions claimed by the LLC or the allocations of the Operating Agreement may not
be challenged successfully by the Internal Revenue Service. Neither the LLC, the Manager nor
their affiliates, assume any responsibility for the tax consequences of an investment in the LLC.

()) The Subscriber has readily available in cash or cash equivalent the amount
necessary to pay for all or any portion of its subscription under this Agreement. The Subscriber
is able to and will disburse or has disbursed such amount to the LLC, within the time periods

required hereunder.

2. Agreement to Refrain from Resales, Without in any way limiting the
representations and warranties herein or the provisions of the Operating Agreement regarding the
transferability of Units, the Subscriber further agrees that the Subscriber shall in no event pledge,
hypothecate, sell, transfer, assign, or otherwise dispose of any Units, nor shall the Subscriber
receive any consideration for Units from any person, unless and until prior to any proposed
pledge, hypothecation, sale, transfer, assignment, or other disposition: (i) the Subscriber shall
have furnished the LLC with a detailed explanation of the proposed disposition; (ii) the
Subscriber shall have furnished the LLC with an opinion of counsel to the Subscriber in form
and substance satisfactory to the LLC to the effect that such disposition will not require
registration of such Units under the Act or registration or qualification of such Units under the
Law or any other securities law and will not require the LLC to be registered under the
Investment Company Act; (iii) Legal Counsel (defined below) for the LLC shall have concurred
in such opinion and the LLC shall have advised the Subscriber of such concurrence; and (iv) the
Subscriber shall have paid the costs of Legal Counsel (defined below) for the LLC.

3, Certificates to be Legended. The Subscriber understands and agrees that an
instrument or certificate, if one is provided (which is presently not contemplated), representing
or relating to a Unit or Units may bear such legends as the LLC may consider necessary or
advisable to facilitate compliance with the Act, the Law, and any other securities law, including,
without limitation, legends stating that the Units have not been registered under the Act or
registered or qualified under the Law and setting forth the limitations on dispositions imposed

hereby.

4, Units will be Restricted Securities. The Subscriber understands that the Units will
be “restricted securities” as that term is defined in Rule 144 under the Act and, accordingly, that
the Units must be held indefinitely unless they are subsequently registered under the Act and
registered or qualified under any applicable Law or any other laws, or exemptions from such
registration and qualification are available. The Subscriber understands that the LLC is under no
obligation to register Units under the Act, to register or qualify Units under any applicable Law
or to in any way assist the Subscriber to comply with any exemption under the Act, the Law or
any other law. The Subscriber understands that federal tax laws provide certain limitations on
the transferability of Units, including, without limitation, a limit on the number of Units that may

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be transferred within a tax year and that the LLC will not transfer a Unit if the transfer would
require the LLC to register under the Investment Company Act.

5. Indemnification. The Subscriber hereby agrees to indemnify and defend the LLC
and its affiliates, and any participating broker-dealers (the “Indemnified Parties”), and hold them
harmless from and against any and all liability, damage, cost, or expense incurred on account of
or arising out of:

(a) Any breach of or inaccuracy in the representations, warranties, or
agreements of the Subscriber herein or in any document provided by the Subscriber to the
LLC, including, without limitation, the defense of any claim based on any allegation of
fact inconsistent with any of said representations, warranties, or agreements;

(b) Any failure of the Subscriber to fulfill any of the terms or conditions of
this Agreement;

(c) Any disposition of any of the Units of the Subscriber contrary to any of
said representations, warranties, or agreements; and

(d) Any action, suit, or proceeding based on (i) a claim that any of said

representations, warranties, or agreements were inaccurate or misleading; (ii) any cause

of action for damages or redress from the Indemnified Parties or any of them under the
Act, the Law or other securities law, or (iii) any disposition of Units.

6. Operating Agreement, The Subscriber acknowledges that Subscriber has read and
agrees to execute and be bound by the Operating Agreement if this subscription is accepted.

7. Power of Attorney. The Subscriber hereby irrevocably constitutes and appoints
the LLC and the Manager, and each of them, with full power of substitution and resubstitution,
the true and lawful attorney of the Subscriber, for the Subscriber, and in the name, place and
stead of the Subscriber and for the use and benefit of the Subscriber to sign, execute, deliver,
certify, acknowledge, swear to, file, record and publish:

(a) The Operating Agreement in substantially the form furnished by the LLC
to the Subscriber, the articles of organization of the LLC and any amendments to either of
such documents as provided in the Operating Agreement;

(b) Any other certificates, instruments, agreements and documents necessary
to qualify or continue the LLC as a limited liability company wherein members have
limited liability in the states or other jurisdictions where the LLC deems necessary or
advisable;

(c) All conveyances, assignments, documents of transfer or other instruments
and documents necessary to effect the assignment of an interest in the LLC, the
substitution of a Subscriber or the dissolution and termination of the LLC in accordance
with the Operating Agreement; and

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(d) All filings and submissions pursuant to the Act and the Law, any other
applicable law, regulation, rule, order, decree or judgment which, in the opinion of said
attorney, may be necessary or advisable in connection with the business of the LLC.

The power of attorney granted herein is coupled with an interest, shall be irrevocable,
shall survive the bankruptcy of the Subscriber, shall be deemed given by each and every assignee
and successor of the Subscriber, and may be exercised by said attorney by listing the name of the
Subscriber, along with the names of other persons for whom said attorney is acting, and
executing the Operating Agreement, the articles of organization of the LLC, any amendments
thereto, and such other certificates, instruments, agreements, and documents with the single
signature of said attorney, or an officer of said attorney acting on behalf of said attomey as such
for all of the persons whose names are so listed.

8. Legal Counsel. The Manager of the LLC has retained Kotz, Sangster, Wysocki
and Berg, P.C. (“KSWB”) as legal counsel (“Legal Counsel”) in connection with the offering of
the Units and expects to retain KSWB in connection with matters relating to the LLC. KSWB
has not and will not represent the Subscriber in connection with the formation or reformation
of the LLC, the offering of the Units, the management and operation of the LLC, or any
dispute which may arise between the members of the LLC on one hand and the Manager of
the LLC, the Manager(s) of such Manager, the LLC and/or any of their affiliates (collectively
the “Management”) on the other hand ( “Fund Legal Matters”). The Subscriber will, if
Subscriber desires counsel on a Fund Legal Matter, retain Subscriber’s own independent counsel
with respect thereto and will pay all fees and expenses of such independent counsel. The
Subscriber agrees that KSWB may represent the Management in connection with any and all
Fund Legal Matters (including any dispute between the Management and the Subscriber or any
other member of the LLC) and waives any present or future conflict of interest with Legal

Counsel regarding Fund Legal Matters.

9. Successors. The representations, warranties, and agreements contained in this
Agreement shall be binding on the Subscriber and the successors or legal representatives of the
Subscriber and shall inure to the benefit of the respective successors and assigns of the LLC and,

where applicable, the Manager.

10. Notices, Any notices or other communications required or permitted hereby shall
be given by registered or certified, U.S. first-class mail, postage prepaid, return receipt requested,
and if to the LLC, at the address at the head of this Agreement, and if to the Subscriber, at the
address set forth below the Subscriber’s signature hereto, or to such other addresses as either the
LLC or the Subscriber shall designate to the other by notice in writing, All such notices and
other communications shall be deemed to be received when given as set forth above.

ll. Entire Agreement; Amendments. This Agreement constitutes the entire
agreement and understanding among the parties with respect to the subject matter hereof and
supersedes all prior agreements, negotiations, arrangements, and understandings relating to the
subject matter of this Agreement. This Agreement may be amended, modified, superseded, or
canceled, and any of the terms, covenants, representations, warranties, or conditions in this

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Agreement may be waived, only by a written instrument signed by each party to this Agreement
or, in the case of a waiver, by or on behalf of the party waiving compliance. The failure of any
party at any time to require performance of any provision in this Agreement shall not affect the
right at a later time to enforce that or any other provision. No waiver by any party of any
condition, or of any breach of any term, covenant, representation, or warranty contained in this
Agreement, in any one or more instances, shall be deemed to be a further or continuing waiver of
that or any other condition or breach.

12. Governing Law. This Agreement and the rights and obligations of the parties
under this Agreement, shall be governed by, and interpreted and enforced in accordance with, the
laws of the State of Michigan, without regard to conflicts of law principles.

IN WITNESS WHEREOF, the undersigned Subscriber executes, accepts, adopts, and
agrees to be bound by this Agreement by executing the signature page attached hereto on the
date indicated, and having such signature notarized on the acknowledgment page.

Number of Units Subscribed: /

Amount of Subscription ($500,000.00 per Unit): $ S00,000

FOR COMPLETION BY SUBSCRIBERS WHO ARE NATURAL PERSONS: (i.e.
individuals)

Dated: , 2006

Subscriber’s Name (print or type)

Subscriber’s Social Security No. Subscriber’s Signature (sign)

FOR COMPLETION BY SUBSCRIBERS WHO ARE NOT NATURAL PERSONS: (i.e.
corporations, partnerships, limited liability companies or other entities)

Dated: Moy, 27, 2006 MIK Family LLC
Subscriber’s Name (print or type)

Subscriber’s Tax I.D. No. Subscriber’s Signature (sign)

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Mi chu | J, Ko walski

(print or type name of authorized representative)

Its M And gh
(title of authorized representative)

Subscriber’s Mailing Address: Subscriber’s Other Address (if any):
(for formal notice) (home business or main office)

2270 Holbrook St.
Hoinnt mame Mi 4B

The undersigned, as the Manager of the LLC, hereby accepts the foregoing
subscription on behalf of the LLC as follows:

Number of Units: |

Amount of Subscription Accepted ($500,000.00 per Unit): § 5S 00,000
CORPORATE EAGLE JET, LLC, a Michigan
limited liability company

By: Tradewinds Aviation, Inc., a Michigan
corporation

Its: Manager

Dated: KpFoY _, 2006 By:

; Richard M, Nini

Its: President

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